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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )         4:05CR3078
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )         MEMORANDUM
                                          )         AND ORDER
MILTON JOSEPH, III,                       )
                                          )
                   Defendant.             )

      On the oral motion of the defendant, and without objection by the government,

      IT IS ORDERED that Defendant Joseph’s sentencing is continued to Friday,
August 4, 2006, at 2:00 p.m., before the undersigned United States District Judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. Since this is a criminal case, the defendant shall be
present unless excused by the court.

      July 20, 2006.                          BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
